Case 4:19-cv-11093-TSH Document 7-1 Filed 06/14/19 Page 1 of 6

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Case 4:19-cv-11093-TSH Document 7-1 Filed 06/14/19 Page 2 of 6

COMMONWEALTH COMMUNITY RECOVERY
DIVISION INC.

PAUL JONES

TINTHOMPSON STREET

SPRINGFIELD, MA 01072

MONTACHUSETT REGIONAL TRANSPORTATION AUTHORITY (MART)
100 MAIN STREET
FITCHBURG, MA 01420
February 11, 2017
Dear Crystal Geisert,

I am writing again to request that all calls to my cellular telephone be removed from MARTS
Automatic Telephone Dialing System, I wrote MART some time ago and ask that CCRD INC
only be called on the 888-680-4667 number, as I cannot answer 30 — 40 calls a day from MART
on my cellular telephone.

CCRD INC appreciate the work but please use the 888 number only for all calls, as you
Automatic Dialing System starts to call us at 7am most days with an computerized voice, this is
very stressful on me as I am trying to driving clients.

The 617-939-5417 number is my personal cell phone please remove my cell number from you
call list asap thank you and I hope you understand any questions please call me asap.

Paul M. Jones
 

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Case 4:19-cv-11093-TSH Document 7-1 Filed 06/14/19 Page 4 of 6

COMMONWEALTH COMMUNITY RECOVERY
DIVISION INC.

PAUL JONES

7ONTHOMPSON STREET

SPRINGFIELD, MA 01072

MONTACHUSETT REGIONAL TRANSPORTATION AUTHORITY (MART)

100 MAIN STREET
FITCHBURG, MA 01420

November 12, 2016
Dear MART,

lam writing to ask that you remove my cell phone from your Automatic Telephone Dialing System ASAP,
please call CCRD INC only on 888-680-4667.

lam revoking all ATDS calls to my cellular telephone (617-939-5417)number as of lately | have been
receiving sometimes 30-40 calls a day as early as 7 am, please remove my 617-939-5417 number as soon
as possible.

| can’t answer most of these calls please don’t take it as | am ignoring the calls as | am driving with
clients and it is difficult and dangerous to pull over every few minutes Thank you.

Paul Jones
 

—_ Case 4:19-cv-11093-TSH DO6BSem 7Usps Fril@agO6/14/19 Page 5 of 6

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